                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ATS TREE SERVICES, LLC,                                      CIVIL ACTION
                Plaintiff,

                v.

 FEDERAL TRADE COMMISSION,                                    NO. 24-1743
 LINA M. KHAN, in her official capacity as
 Chair of the Federal Trade Commission,
 REBECCA KELLY SLAUGHTER,
 ALVARO BEDOYA,
 ANDREW N. FERGUSON and
 MELISSA HOLYOAK, in their official
 capacities as Commissioners of the FTC,
                      Defendants.

                                            ORDER

       AND NOW, this 23rd day of July, 2024, upon consideration of Plaintiff’s Motion for

Stay of Effective Date and Preliminary Injunction (“Motion”) (ECF No. 10), all responsive and

related filings (ECF Nos. 11, 22, 48, 53, 62, 64, 65, 72, 77), and the Parties’ arguments at the

hearing held on July 10, 2024 (ECF No. 70), it is hereby ORDERED that Plaintiff’s Motion is

DENIED.

   SO ORDERED.
                                                      BY THE COURT:

                                                      /s/ Hon. Kelley B. Hodge

                                                         HODGE, KELLEY B., J.
